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IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION
MICHELE FAHEY,
Plaintiff,
Vv.

CASE NO. CV421-004

KOLCUN TREE CARE, LLC and JOHN
DOES NOS. 1-10,

Defendants.

 

ORDER
On January 11, 2021, Plaintiff brought suit in this Court
seeking recovery for injuries she sustained in a horse and carriage
accident. (Doc. 1.) In her complaint, Plaintiff contends that this
Court has diversity jurisdiction over this action pursuant to 28
U.S.C. § 1332. (Id. at @ 1.) The party invoking this Court’s
diversity jurisdiction bears the burden of adequately pleading

complete diversity. See 28 U.S.C. § 1332; Ray v. Bird & Son Asset

 

Realization Co., 519 F.2d 1081, 1082 (5th Cir. 1975)! (“The burden
of pleading diversity of citizenship is upon the party invoking
federal jurisdiction, and if jurisdiction is properly challenged,
that party also bears the burden of proof.”). For the purposes of

diversity jurisdiction, a limited liability company (“LLC”) is a

 

1 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
1981) (en banc), the Eleventh Circuit adopted as binding precedent
all decisions of the former Fifth Circuit handed down prior to
October 1, 1981.

 
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citizen of every state in which any of its members are citizens.

Rolling Greens MHP, LP v. Comcast SCH Holdings LLC, 374 F.3d, 1020,

 

1021-22 (11th Cir. 2004). The United States Court of Appeals for
the Eleventh Circuit has been explicit in addressing the proper
method to allege sufficiently the citizenship of an LLC: “a party
must list the citizenships of all the members of the limited
liability company.” Id. at: 1022.

In this case, Plaintiff’s complaint does not include a list
of the individual members, along with their citizenships, of
Defendant Kolcun Tree Care, LLC. The complaint merely states that
Defendant Kolcun “is a limited liability company under the laws of
South Carolina with its principal place of business in South
Carolina.” (Doc. 1 at @ 1.) As discussed above, this is not
sufficient to establish complete diversity. Accordingly, Plaintiff
is DIRECTED to file an amended complaint within fourteen days from
the date of this order listing all members of Defendant Kolcun and
their citizenships.?

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SO ORDERED this Lew day of January 2021.

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WILLIAM T. MOORE, J&.
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

2 The Court will not accept any amended complaint that incorporates
by reference any factual allegation or argument contained in an
earlier filing, or that offers only a piecemeal amendment.
Plaintiff’s amended complaint should be a stand-alone filing that
independently contains all the factual allegations necessary to
establish diversity between the parties.

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